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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


ANDREW SMITH, ANDREW LAPORTE,
JASON LOWE, CRAIG POTTER, and
THOMAS SPRADER, individually and on
behalf of a class of similarly situated enrolled
persons, JOHN MAHER and ELIZABETH
SPAFFORD, individually and on behalf of a
class of similarly situated graduates, and
DAVID AYOTTE, MICHAEL CHUNN,
JASON COLTER, LORNE COUCH,
ALEX FERGUSON, JAMES FRANS,
AMY GAMBLE, JAMES MARSHALL,
DENNIS PARKER, DAVID RHEAD,
ALDIN SABANOVSKI, BRUCE VANG,
MEHMED VOJNIKOVIC, NATHAN WADELL
and SENAD ZUKIC, individually,
                                                   Case No. 2:10-CV-11490
              Plaintiffs,
                                                   Honorable Victoria A. Roberts
vs.
                                                   Magistrate Judge R. Steven Whalen
COMPUTERTRAINING.COM, INC,
COMPUTERTRAINING.EDU, LLC
(f/k/a COMPUTERTRAINING.COM, LLC),
and CTCI CORP,

          Defendants.
_____________________________________/


       OPINION AND ORDER GRANTING PLAINTIFF’S MOTION FOR CLASS
           CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL


I.     INTRODUCTION

       On June 16, 2010 Plaintiffs filed a Motion for Class Certification and for

Appointment of Class Counsel (Doc. #21). Defaults were entered against Defendants



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ComputerTraining.com, Inc., ComputerTraining.edu, LLC (f/k/a ComputerTraining.com,

LLC), and CTCI Corp. for failure to appear and defend (Doc. #18-20). These

defendants have all defaulted, and do not oppose this Motion.

       Plaintiffs’ motion is GRANTED.

II.    BACKGROUND

       Plaintiffs filed this action against Defendants after the abrupt closing of the

ComputerTraining schools on December 31, 2009. (Second Amended Complaint, Doc.

#26 [Sec. Am. Compl.]). The Defendants operated twenty-one ComputerTraining

schools in fourteen states, including two in Michigan. These schools were a for-profit

business, and sold six-month educational programs in information technology, which

included career placement services for graduates. Defendants appear to have

conducted uniform sales practices, and appear to have used similar, if not identical,

forms and contracts.

       Plaintiffs are students who were enrolled in the Defendants’ schools when they

closed, or are graduates of the schools. For purposes of this litigation, Plaintiffs have

separated into two distinct classes, the “Enrolled Class” and the “Graduate Class.” The

named Plaintiffs for the Enrolled Class are Andrew Smith, Andrew LaPorte, Jason

Lowe, Craig Potter, and Thomas Sprader. Plaintiffs define the Enrolled Class as:

       All individuals who were enrolled at ComputerTraining as of December 31,
       2009, and all individuals who co-signed or otherwise guaranteed or
       became liable for a loan to pay the ComputerTraining tuition for any such
       individual.

Plaintiffs’ Brief in Support of Motion for Class Certification and for Appointment of Class
Counsel, pg. 9 [Pl. Br.].



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In the Second Amended Complaint, the putative Enrolled Class asserts eleven counts

against these defendants on behalf of themselves and all others similarly situated. The

counts are based on (1) negligence, (2) breach of fiduciary duty, (3) negligent

misrepresentation, (4) innocent misrepresentation, (5) promissory estoppel, (6) unjust

enrichment/breach of quasi-contract, (7) equitable estoppel, (8) breach of contract, (9)

fraud, (10) civil conspiracy, and (11) concert of action. Generally speaking, Enrolled

Plaintiffs allege that Defendants are contractually or otherwise bound to refund tuition

costs to members of the Enrolled Class. The Enrolled Class also asserts that they are

entitled to compensation for the ongoing career placement services that the Defendants

represented were included in the program. Plaintiffs estimate that the Enrolled Class

includes between 1000 and 2000 members.

       The named Plaintiffs for the Graduate Class are John Maher and Elizabeth

Spafford. Plaintiffs define the Graduate Class as:

       All individuals who completed a training program at ComputerTraining
       prior to December 31, 2009, and all individuals who co-signed or
       otherwise guaranteed or became liable for a loan to pay the
       ComputerTraining tuition for any such individual.

Pl. Br. 10.

The Graduate Plaintiffs have the same eleven counts against the defendants as the

Enrolled Plaintiffs do, as listed above. The Graduate Class says that its members are

entitled to compensation for the ongoing career placement services that the Defendants

represented were included in the program. Plaintiffs estimate that the Graduate Class

includes between 10,000 and 20,000 members.




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III.   STANDARD OF REVIEW

        Plaintiffs’ Motion for Class Certification and for Appointment of Class Counsel is

filed pursuant to Fed. R. Civ. P. 23. As the party seeking class certification, Plaintiffs

have the burden to show that the requirements of Rule 23 have been met. See Anchem

Products, Inc., v. Windsor, 521 U.S. 591, 614 (1997). A “district court retains broad

discretion in determining whether an action should be certified as a class action, and its

decision, based upon the particular facts of the case, should not be overturned absent a

showing of abuse of discretion.” Sterling v. Velsicol Chemical Corp., 855 F.2d 1188,

1197 (6th Cir. 1988).

       In determining a motion for class certification, a court does not assess the merits

of the plaintiffs’ underlying claims. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177

(1974). The substantive allegations made in the complaint should be taken as true, and

the Court should assume that cognizable claims are stated. In re: Cardizem CD

Antitrust Litigation, 200 F.R.D. 326, 334 (E.D. Mich. 2001)(citing Eisen, 417 U.S. at

178). However, the Court is required to “conduct a ‘rigorous analysis’ into whether the

prerequisites of Rule 23 are met before certifying a class.” In re American Medical

Systems, Inc., 75 F.3d 1069, 1078-1079 (6th Cir. 1996)(citing General Telephone Co. of

the Southwest v. Falcon, 457 U.S. 147, 161 (1982)). But if the Court is in doubt “as to

whether to certify a class action, it should err in favor of allowing a class.” Little Caesar

Enter., Inc. v. Smith, 172 F.R.D. 236, 241 (E.D. Mich. 1997).

IV.    APPLICABLE LAW AND ANALYSIS

       Under Rule 23(c), “[a]n order that certifies a class action must define the class



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and the class claims, issues, or defenses, and must appoint class counsel under Rule

23(g).” Fed. R. Civ. P. 23(c)(1)(B). Although all of the Defendants named in this motion

have defaulted in the judgment, “(r)elief cannot be granted to a class before an order

has been entered determining that class treatment is proper.” Davis v. Romney, 490

F.2d 1360, 1366 (3rd Cir 1974); see also Davis v. Hutchins, 321 F.3d 641, 648 (7th Cir.

2003); Partington v. American Int’l Speciality Lines Ins. Co., 443 F.3d 334, 340 (4th Cir.

2006).

         A.     Prerequisites under Rule 23(a)

         The prerequisites for certifying an action as a class action under Rule 23(a) are:

         (1)    the class is so numerous that joinder of all members is impracticable;

         (2)    there are questions of law or fact common to the class;

         (3)    the claims or defenses of the representative parties are typical of the
                claims or defenses of the class; and

         (4)    the representative parties will fairly and adequately protect the interests
                of the class.

Fed. R. Civ. P. 23(a).

These prerequisites are generally referred to as numerosity, commonality, typicality,

and adequacy of representation. See, e.g., Beattie v. CenturyTel, Inc., 234 F.R.D. 160,

167 (E.D. Mich. 2006).

                1.     Numerosity

         The first section of Rule 23(a) requires that “the class is so numerous that joinder

of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). This requirement “is met

when plaintiffs demonstrate that the number of potential class members is large, even if



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plaintiffs do not know the exact figure.” Beattie, 234 F.R.D. at 167-168 (citing In re

Consumers Power Company Security Litigation, 105 F.R.D. 583, 601 (E.D. Mich 1985)).

       Classes far smaller than the 1,000- and 10,000-member classes proposed here

have met the numerosity requirement in the Sixth Circuit. See Afro American

Patrolmen’s League v. Duck, 503 F.2d 294 (6th Cir. 1974)(certifying a class of 35

members) and Klender v. U.S., 218 F.R.D. 161 (E.D. Mich. 2001)(certifying a class of

151 members). Plaintiffs base their estimated size of the Enrolled Class on the figure of

973 from an email written by the ComputerTraining schools’ former owner, which

appears to refer to the number of students enrolled at the time of closing. (Pl. Br., Ex.

7). The final estimate of 1000-2000 members was reached by accounting for the

potential co-signors of those 973 students’ educational loans. (Pl. Br. 7-8). Plaintiffs

base their estimate for the Graduate Class on ComputerTraining materials produced in

2007, which state that the schools have more than 7,000 graduates in the IT industry.

(Pl. Br. 8). The final estimate of 10,000-20,000 members was reached by accounting

for students who graduated between 2007 and the schools’ closing, as well as co-

signors of those graduates’ educational loans. Id. Even assuming the lowest side of

Plaintiffs’ estimates, the scope of each class they propose is clearly so numerous that

joinder of all members would be impracticable.

       For these reasons, the Court finds that the numerosity requirement is met for

both the Enrolled Class and the Graduate Class.




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                  2.        Commonality

         The second section of Rule 23(a) requires that “there are questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). “Rule 23 simply requires a common

question of law or fact.” Bittinger v. Tecumseh Products Co., 123 F.3d 877, 884 (6th Cir.

1997)(emphasis in original). Additionally, “(w)hen the legality of the defendant’s

standardized conduct is at issue, the commonality factor is normally met.” Gilkey v.

Central Clearings Co., 202 F.R.D. 515, 521 (E.D. Mich. 2001).

         The claims of both classes center around Defendants’ standardized conduct;

they arise out of the operation and closing of the Defendants’ schools. Plaintiffs allege

that the schools were uniformly and centrally operated, and that all of the schools

closed at the same time and for the same reasons. (Pl. Br. 3-4; Sec. Am. Compl. ¶¶ 90-

104, 119-137). Thus, it appears that there are many issues of law and fact common to

members of the Enrolled Class and the Graduate Class. Although the Defendants have

all defaulted on the issues surrounding liability, common issues of law and fact are

pertinent to the determination of damages.

         Issues of law common to all members of the Enrolled Class include the

determination of damages based on Defendants’ liability to refund tuition costs. This

central claim is based on a provision in the various Enrollment Agreements, and in the

standard course catalogs.1 Issues of law common to all members of both the Enrolled



         1
          The relevant provision of the Enrollment Agreement reads: “(i)f Computertraining closes prior to the
completion of your enrolled program, Computertraining shall refund to the Student, if currently enrolled, monies
paid by the Student for tuition and fees, or monies for which the Student is liable for tuition and fees.” (Pl. Br., Ex.
3). The relevant provision of the course catalog reads: “If ComputerTraining closes or discontinues the course, it
shall refund to each currently enrolled student monies paid by the student for tuition and fees.” (Sec. Am. Compl.
¶104).

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Class and the Graduate Class include the determination of damages based on

Defendants’ liability to provide ongoing career placement services through specific

representations.

       For these reasons, the Court finds that the commonality requirement is met for

both the Enrolled Class and the Graduate Class.

              3.     Typicality

       The third section of Rule 23(c) requires that “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Fed. R. Civ. P.

23(a)(3). A district court must find that a “sufficient relationship exists between the

injury to the named plaintiff and conduct affecting the class, so that the court may

properly attribute a collective nature to the challenged conduct.” Stout v. J.D. Byrider,

228 F.3d 709, 717 (6th Cir. 2000)(citations omitted). “A claim is typical if it arises from

the same event or practice or course of conduct that gives rise to the claims of the other

class members, and if his or her claims are based on the same legal theory.” In re

American Medical Systems, Inc., 75 F.3d at 1082 (citing 1 Herbert B. Newberg & Alba

Conte, Newberg on Class Actions, § 3-13, at 3-76 (3d ed. 1992)). A class action is not

impermissible simply because “questions peculiar to each individual member of the

class remain after the common questions of the defendant’s liability have been

resolved.” Gilkey, 202 F.R.D. at 522.

       The proposed representatives of the Enrolled Class assert claims that are typical

of the class because they all arise from the same course of conduct. The Enrolled

Class’s claims arise from the Defendants’ practices concerning the Enrollment

Agreements, and from the closing of the schools. Since the various Enrollment

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Agreements and course catalogs are substantively uniform, the fact that potential class

members enrolled at different campuses does not affect typicality.

       The proposed representatives of the Graduate Class assert claims that are

typical of the class because they all arise from the same course of conduct. The

Graduate Class’s claims arise from the Defendant’s central operation of the schools, the

uniform sales practices, and the representations made through these operations and

practices. Since these practices and representations were uniform, the fact that

potential class members graduated from different campuses does not affect typicality.

The Graduate Class’s claims also arise out of the same event: the closing of the

schools. Again, all of the schools closed at the same time and for the same reasons.

       For these reasons, the Court finds that the typicality requirement is met for both

the Enrolled Class and the Graduate Class.

              4.     Adequacy of Representation

       The last section of Rule 23(a) requires that “the representative parties will fairly

and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This

requirement was explained by the Supreme Court in Anchem Products, Inc., v. Windsor:

       The adequacy inquiry under Rule 23(a)(4) serves to uncover conflicts of
       interest between named parties and the class they seek to represent. A
       class representative must be part of the class and possess the same
       interest and suffer the same injury as the class members.

Anchem Products, Inc., 521 U.S. at 625-626.

Rule 23(a)(4) also involves finding that “the representatives will vigorously prosecute the

interests of the class through qualified counsel.” In re American Medical Systems, Inc.,

75 F.3d at 1083.


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          Named Enrolled Plaintiffs and members of the Enrolled Class allegedly suffered

 the same two main injuries. All claim they have paid or become liable to Defendants for

 tuition. They also claim they were promised career placement services as part of the

 program for which they paid tuition or became liable. There is no indication of a conflict

 of interest between the named Enrolled Plaintiffs and the members of the Enrolled

 Class.

          Named Graduate Plaintiffs and members of the Graduate Class allegedly

 suffered the same main injury: all claim they were promised career placement services

 as part of a program for which they paid tuition or became liable. There is no indication

 of a conflict of interest between the named Graduate Plaintiffs and the members of the

 Graduate Class.

          Based on information in the affidavits of Dean Googasian and Thomas Howlett,

 submitted as exhibits to their Motion, this Court finds no reason to believe that the

 representatives for both classes would not vigorously prosecute the interests of the

 class. Also based on these affidavits, this Court finds no reason to believe that Dean

 Googasian and Thomas Howlett are not qualified counsel within the meaning of Rule

 23(a)(4).

          For these reasons, the Court finds that the adequacy of representation

 requirement is met for both the Enrolled Class and the Graduate Class.

          The Court concludes, therefore, that all requirements of Rule 23(a) have been

 satisfied.




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        B.     Type of Class under Rule 23(b)

        Once the prerequisites of Rule 23(a) are satisfied, a class action must also fulfill

 the requirements of at least one of the three types set out in Rule 23(b). See, e.g., Ball

 v. Union Carbide Corp., 385 F.3d 713, 728 n.12 (6th Cir. 2004). The relevant type of

 class action is defined as follows:

        (3)    the court finds that the questions of law or fact common to class
               members predominate over any questions affecting only individual
               members, and that a class action is superior to other available
               methods for fairly and efficiently adjudicating the controversy. The
               matters pertinent to these findings include:

               (A)    the class members’ interests in individually controlling the
                      prosecution or defense of separate actions;

               (B)    the extent and nature of any litigation concerning the
                      controversy already begun by or against class members;

               (C)    the desirability or undesirability of concentrating the litigation
                      of the claims in the particular forum; and

               (D)    the likely difficulties in managing a class action.

 Fed. R. Civ. P. 23(b)(3)(emphasis added).

        This type of class action “was designed not solely as a means for assuring legal

 assistance in the vindication of small claims but, rather, to achieve the economies of

 time, effort, and expense.” In re Am. Med. Sys., Inc. 75 F.3d at 1084 (internal quotes

 omitted); see also Adv.Comm.Note, 39 F.R.D. 69, 102-103 (1966). The interests of the

 members of a class must be connected closely because all members of a Rule 23(b)(3)

 class who do not opt out will be bound by the judgment. Fed. R. Civ. P. 23(c)(3)(b); see

 also 7AA Wright, Miller, & Kane, Federal Practice and Procedure §1778 (3d ed. 2005).

 The analysis for Rule 23(b)(3) is usually broken down into two inquiries: predominance


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 and superiority. See, e.g., Beattie v. Century Tel, Inc., 511 F.3d 554, 563-567 (6th Cir.

 2007).

                 1.      Predominance

          In assessing whether questions of law or fact common to class members

 predominate over any questions affecting only individual members, the Sixth Circuit

 recently issued the following guidance:

          [T]he commonality requirement is satisfied if there is a single factual or
          legal question common to the entire class. The predominance
          requirement is met if this common question is at the heart of litigation.

 Powers v. Hamilton County Public Defender Commission, 501 F.3d 592, 619 (6th Cir.
 2007).

 A court should also look to “whether proposed classes are sufficiently cohesive to

 warrant adjudication by representation.” Amchem Products, Inc., 521 U.S. at 623 (citing

 7A Wright, Miller, & Kane, Federal Practice and Procedure, §1753 (2d ed. 1986)).2 In

 explaining the purpose of the predominance requirement, the Advisory Committee gave

 the example of “a fraud perpetrated on numerous persons by use of similar

 misrepresentations.” Adv.Comm.Note, 39 F.R.D. 69, 103 (1966). The Advisory

 Committee notes that this example holds true even if individualized determinations of

 damages are found necessary after a determination of liability. Id.

          There is no indication of any questions of law or fact affecting only individual

 members of the Enrolled Class that rival the predominance of questions common to the


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          In Anchem Products, Inc., v. Windsor class members “were exposed to different asbestos
 containing products, for different amounts of time, in different ways, and over different periods.” Id. at
 624. The Supreme Court held that the predominance standard was not met based on “the greater number
 of questions peculiar to the several categories of class members, and to individuals within each category,
 and the significance of those uncommon questions.” Id.

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 class. The overriding question affecting the Enrolled Class is what damages

 Defendants caused through the standard Enrollment Agreements and through the

 events surrounding the closing of the school.

        The way in which Defendants represented the program, including their

 representations concerning continuing career placement services, appears to be “a

 fraud perpetrated on numerous persons by use of similar misrepresentations.” Id. The

 Sixth Circuit has approved class certification in such cases of systematic

 misrepresentation. Bittenger, 123 F.3d at 884 (certifying a class of retirees despite the

 fact that the company’s representations concerning their retirement benefits were not

 uniformly communicated to all class members).

        There is no indication of any questions of law or fact affecting only individual

 members of the Graduate Class that rival the predominance of questions common to

 the class. The overriding question affecting the Graduate Class (and the Enrolled

 Class), is what damages Defendants caused through their representations and through

 events surrounding the closing of the schools.

        Furthermore, there is no indication that any of the considerations listed in Rule

 23(b)(3)(A)-(D) are implicated in this situation. As stated and supported in Plaintiffs’

 brief, none of the proposed members of either class has an interest, expressed or

 otherwise, in individually controlling the prosecution or defense of separate actions. (Pl.

 Br. 18). Nor does it seem that any litigation has already begun by or against members

 of either class. Since two of the defendants’ schools were located in Michigan, this

 appears to be as desirable a forum as any. Counsel seems cognizant of the likely

 difficulties in managing a class action and capable of dealing with them. (Pl. Br. 18-19).

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 Additionally, the normal difficulties of managing a class action have been greatly

 reduced, since Defendants defaulted on the judgment and only the consideration of

 damages remains.

        The Court finds that the questions of law or fact common to class members

 predominate over any questions affecting only individual members.

               2.     Superiority

        The requirement that a class action be “superior to other available methods for

 fairly and efficiently adjudicating the controversy” is relatively straightforward. Fed. R.

 Civ. P. 23(b)(3). As the phrase “fairly and efficiently” suggests, this is “an area in which

 the courts have used considerable discretion of a pragmatic nature.” J.D. Woodhull,

 Inc., v. Addressograph-Multigraph Corp., 62 F.R.D. 58, 61 (S.D. Ohio 1974). As noted

 above, the purpose of Rule 23(b)(3) actions is “to achieve the economies of time, effort,

 and expense.” In re American Medical Systems, Inc., 75 F.3d at 1084 (internal quotes

 omitted); see also Adv.Comm.Note, 39 F.R.D. 69, 102-103 (1966). Considerations

 include “avoiding a multiplicity of actions and avoiding delay in securing any legitimate

 relief.” Buyers League v. F & F Inv., 28 F.R.D. 7, 13 (N.D.Ill. 1969)(cited in 6A Federal

 Procedure, Lawyers Edition §12:231).

        In the case of In re Nassau County Strip Search Cases, the Second Circuit found

 the fact that the defendants had already conceded to liability compelling to the

 determination of superiority. In re Nassau County Strip Search Cases, 461 F.3d 219,

 230 (2nd Cir. 2006). That case is analogous to the one here, where Defendants have

 all defaulted. Because the only remaining consideration is damages, it is difficult to

 imagine that any potential class member would rather pursue his or her claim

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 individually in any other manner or forum. As noted in the discussion of predominance,

 there is no indication that any of the considerations listed in Rule 23(b)(3)(A)-(D) are

 implicated in this situation.

        The Court finds that a class action is superior to other available methods for fairly

 and efficiently adjudicating the controversy.

        The Court concludes, therefore, that class certification under Rule 23(b)(3) is

 appropriate.

                C.     Appointment of Class Counsel

        Under Rule 23(g), “a court that certifies a class must appoint class counsel.”

 Fed. R. Civ. P. 23(g)(1). A court must consider the following factors:

        (i)     the work counsel has done in identifying or investigating potential
                claims in the action;

        (ii)    counsel’s experience in handling class actions, other complex
                litigation, and the types of claims asserted in the action;

        (iii)   counsel’s knowledge of the applicable law; and

        (iv)    the resources that counsel will commit to representing the class.

 Fed. R. Civ. P. 23(g)(1)(A).

 The work that counsel have done for this action, their previous experience, and their

 knowledge of applicable law, demonstrate that they are capable of representing both

 classes. (Pl. Br. 18-19, Ex. 9 & 10 [affidavits of Dean Googasian and Thomas Howlett]).

 The resources they have devoted, as well as the work they have already done, also

 indicates that they are committed to and invested in this case. Id.

        The Court is satisfied that these attorneys fulfill the requirements of Rule 23(g).

 V.     CONCLUSION

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        Plaintiffs satisfy all requirements of Federal Rule of Civil Procedure 23(a) and the

 provisions of Rule 23(b)(3).

        Therefore Plaintiff’s Motion for Class Certification is GRANTED. The

 determination of class certification is conditional and may be altered or amended prior to

 a final determination on damages in light of any changes in circumstances that make

 such action advisable. See Fed. R. Civ. P. 23(c)(1).

        Pursuant to Federal Rule of Civil Procedure 23(b)(3), the following class is

 certified as the “Enrolled Class”:

        All individuals who were enrolled at ComputerTraining as of December 31,
        2009, and all individuals who co-signed or otherwise guaranteed or
        became liable for a loan to pay the ComputerTraining tuition for any such
        individual.

        Pursuant to Federal Rule of Civil Procedure 23(b)(3), the following class is

 certified as the “Graduate Class”:

        All individuals who completed a training program at ComputerTraining
        prior to December 31, 2009, and all individuals who co-signed or
        otherwise guaranteed or became liable for a loan to pay the
        ComputerTraining tuition for any such individual.

        Counsel for the named plaintiffs, namely Dean Googasian and Thomas Howlett,

 are appointed counsel for each of the designated classes.

        At their expense, Plaintiffs must provide appropriate notice to all class members

 via first-class mail and in conformance with Rule 23 of the Federal Rules of Civil

 Procedure. The notice must provide putative class members until July 26, 2011 to

 notify counsel for the parties and the Court, of their intention to opt out of the proposed

 class. The notice must provide that class members wishing to enter their own



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 appearance in the matter through counsel must do so by that same date.

       On or before February 17, 2011, Plaintiffs must forward to the Court a proposed

 document that will be used to serve notice upon all members of the class. The notice

 must not be sent until Court approval is given.

       IT IS ORDERED.


                                                   /s/ Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge


 Dated: January 26, 2011




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